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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

MICHAELA HEMPHILL, et al.,                     )
                                               )
       Plaintiffs,                             )
                                               )
       v.                                      )              Civil Action No. 22-CV-1391
                                               )
MIGUEL CARDONA, Secretary of the               )
United States Department of Education, et al., )
                                               )
       Defendants.                             )
__________________________________________)

                                    JOINT STATUS REPORT

          Pursuant to this Court’s July 31, 2023 Minute Order, the parties provide this joint status

report.

Joint Statement

          This case seeks class-wide relief pursuant to 5 U.S.C. § 706 on behalf of certain students

who enrolled in the Criminal Justice program at Westwood College in Illinois and are part of a

request (the “IL AG Application”) submitted in 2016 by the Illinois Attorney General’s Office

(“IL AG”) to the U.S. Department of Education to have their federal student loans discharged.

Plaintiffs filed an Amended Complaint (“Complaint”) on August 17, 2022. Dkt. 18. Defendants,

Miguel Cardona, in his official capacity as the Secretary of Education, and the United States

Department of Education (together, “Department”) filed an Answer to Plaintiffs’ Amended

Complaint (“Answer”) on August 25, 2022. Dkt. 19. There are no other pending deadlines in the

case.

          On August 30, 2022, the Department announced that it will “discharge all remaining

federal student loans for borrowers who enrolled in any location of Westwood College (including

enrollment in Westwood's online program) between January 1, 2002 through November 17, 2015
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when it stopped enrolling new borrowers in advance of its 2016 closure.” Press Release, U.S. Dep’t

of Educ., Education Department Approves $1.5 billion in Debt Relief for 79,000 Borrowers Who

Attended Westwood College (August 30, 2022) (hereinafter “August 2022 Press Release”),

https://www.ed.gov/news/press-releases/education-department-approves-15-billion-debt-relief-

79000-borrowers-who-attended-westwood-college.

       As previously noted, the Department, on March 29, 2023, began issuing notices to

borrowers of their “Student Loan Discharge Based on Borrower Defense Evidence.” ECF No. 25

at 2. The Notice provides that the Department is effectuating a “Group Discharge” regarding “all

outstanding Federal student loans taken out by students for attendance at Westwood College

between January 1, 2002 through the school's closure in 2016.” Id. The Department further states

that the action “follow[ed] the Department's finding that the school engaged in widespread

misconduct that violated state consumer protection laws and/or made widespread substantial

misrepresentations about its students' employment prospects and the ability of its' students to

transfer credits, both of which create a basis for a claim for borrower defense to repayment

discharge under the Department's regulations.” Id.

       Since the last status report, the Department has continued making progress toward

completing the discharges for the Westwood group borrowers. As of September 5, 2023, the

Department has completed the discharges of the Department-held loans of approximately 59,000

Westwood group borrowers, which represents approximately 77% of such borrowers. As stated

in the previous status report, ECF No. 28 at 2, with respect to the three named Plaintiffs in this

case—Michaela Hemphill, Victoria Vences, and Mike Christou—all of their Department-held

loans have been discharged. Ms. Hemphill’s FFEL loans are awaiting discharge by the guaranty

agency, which the Department expects will be completed soon. The Department has requested an




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update from FFEL guarantors as to the status of FFEL discharges and will provide that information

to Plaintiffs when it is available. The Department reports that FFEL discharges typically take

longer to complete than Department-held discharges because FFEL discharges require exchanges

of information among various parties, including the Department, the guaranty agency, the lender,

and in some instances a separate servicer. Plaintiffs have expressed to the Department their

concern about the rate of discharges, particularly with regards to the FFEL loans in question, and

will continue to monitor the Department's discharge performance during the proposed upcoming

status report period to assess whether further action in this proceeding is required.

       The parties continue to make progress discussing the details of the Department’s

implementation of debt relief for former Westwood students; how such implementation will affect

the named Plaintiffs and proposed class in this litigation; and how such implementation will affect

future litigation in this case, if any. As discussions between the parties are ongoing, the parties

respectfully propose providing this Court another joint status report on October 24, 2023.

Dated: September 8, 2023                      Respectfully submitted,

                                              BRIAN M. BOYNTON
                                              Principal Deputy Assistant Attorney General

                                              MARCIA BERMAN
                                              Assistant Branch Director

                                              /s/Cristen C. Handley
                                              CRISTEN C. HANDLEY, MO Bar 69114
                                              United States Department of Justice
                                              Civil Division, Federal Programs Branch
                                              1100 L Street NW, Room 11020
                                              Washington, DC 20530
                                              Tel.: (202) 305-2677
                                              E-mail: cristen.handley@usdoj.gov

                                              Mailing Address:
                                              Post Office Box 883
                                              Washington, D.C. 20044



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                                           Courier Address:
                                           1100 L Street NW, Room 11520
                                           Washington, D.C. 20005

                                           Counsel for Defendants

                                           /s/Daniel A. Zibel
                                           Daniel A. Zibel (D.C. Bar No. 491377)
                                           Eric Rothschild (D.C. Bar No. 1048877)
                                           NATIONAL STUDENT LEGAL DEFENSE
                                           NETWORK
                                           1701 Rhode Island Ave. NW
                                           Washington, DC 20036
                                           (202) 734-7495
                                           dan@defendstudents.org
                                           eric@defendstudents.org

                                           Stuart T. Rossman* (MA BBO No. 430640)
                                           Kyra Taylor* and (D.C. Bar No. 1510681)
                                           NATIONAL CONSUMER LAW CENTER
                                           7 Winthrop Square, Fourth Floor
                                           Boston, MA 02110
                                           (617) 542-8010
                                           srossman@nclc.org
                                           ktaylor@nclc.org

                                           Jon Greenbaum (D.C. Bar No. 489887)
                                           David Hinojosa (D.C. Bar No. 1722329)
                                           Chavis Jones** (D.C. Bar No. 1739219)
                                           LAWYERS’ COMMITTEE FOR CIVIL
                                           RIGHTS UNDER LAW
                                           1500 K Street, NW, Suite 900
                                           Washington, DC 20005
                                           Telephone: (202) 662-8600
                                           Facsimile: (202) 783-0857
                                           jgreenbaum@lawyerscommittee.org
                                           dhinojosa@lawyerscommittee.org
                                           gbonadies@lawyerscommittee.org
                                           cjones@lawyerscommittee.org

*application for admission pro hac vice granted
** Practice is supervised by one or more D.C. Bar members and admitted to the Bar under D.C.
App. R. 46-A (Emergency Examination Waiver)

                                           Attorneys for Plaintiffs



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